     Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 1 of 13




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


 LEROY PERNELL, et al.,

                    Plaintiffs,              Case No. 4:22-cv-304-MW-MAF

             v.

 FLORIDA BOARD OF GOVERNORS
 OF THE STATE UNIVERSITY
 SYSTEM, et al.,

                    Defendants.


                  DEFENDANTS’ RESPONSE IN OPPOSITION
                   TO PLAINTIFFS’ MOTION TO COMPEL
                                  INTRODUCTION

      The question presented by Plaintiffs’ motion is a simple one: is providing

basic information about state Universities’ diversity, equity, and inclusion (“DEI”)

programs, as directed by the Governor’s December 28, 2022 Memorandum, a “step”

in the “enforce[ment]” of the Individual Freedom Act or its implementing

Regulation? Order Granting in Part and Denying in Part Motions for Prelim. Inj.,

Doc. 63 (Nov. 17, 2022) (“Prelim. Inj.”). The answer is likewise simple: merely

collecting and transmitting information is not “enforcing” anything. To “enforce” a

law is “to compel obedience to [it].” “Enforce,” BLACK’S LAW DICTIONARY (11th

ed. 2019). The Act and Regulation, for instance, establish two enforcement
                                         1
     Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 2 of 13




mechanisms: by universities, through investigating and correcting instruction

contrary to the Act; and by the Board, through investigating—and, ultimately,

withholding funding from—universities that fail to correct instruction that violates

the Act. See Board of Governors Regulation 10.005(2)–(4). But merely gathering

and transmitting information is not “enforcement.” Were Defendants to actually

violate the Court’s Preliminary Injunction—by, for example, commencing an

investigation of a university for failing to correct teaching contrary to the Act—

Plaintiffs presumably would not be satisfied if the Court “enforced” its injunction

by merely directing the Board to report how much money it was spending on the

investigation.

      Plaintiffs cite no authority whatsoever to support the notion that providing the

information at issue “enforces” the Act or Regulation in violation of the Preliminary

Injunction. All the cases they rely upon concern substantive First Amendment

violations—and this Court does not have properly before it any claim that the

December 28 Memorandum itself violates the First Amendment. Again, the only

issue properly before the Court is whether compliance with the Memorandum

“enforces” the Act. None of Plaintiffs’ cases speak to that issue.

      The Florida Constitution expressly authorizes the Governor to request

information of this kind, FLA. CONST. art. IV, § 1, and much of the information at

issue has already been made freely available by the Universities—either on their

                                          2
        Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 3 of 13




websites or in their annual budget proposals. Nothing in this Court’s command that

Defendants must refrain from enforcing the Individual Freedom Act immunizes state

universities from providing the Governor’s Office with basic information about the

programs and activities the State is funding.

                                   BACKGROUND

I.      Procedural History.

        Plaintiffs brought this suit challenging the constitutionality of the Individual

Freedom Act (“the Act”), 2022 Fla. Laws 72, which amended the Florida

Educational Equity Act (“FEEA”) to prohibit state schools and universities from

“subject[ing] any student or employee to training or instruction that espouses,

promotes, advances, inculcates, or compels such student or employee to believe”

any of eight enumerated concepts. FLA. STAT. § 1000.05(4)(a) (as amended by the

Act).

        Plaintiffs moved for a preliminary injunction restraining enforcement of the

Act, and on November 17, 2022, the Court granted that motion in part and denied it

in part. The Court concluded that various defendants were likely outside of its

jurisdiction at the preliminary injunction stage and denied Plaintiffs’ motion as to

those parties; however, it concluded that it had jurisdiction to enjoin the members of

the Florida Board of Governors of the State University System, in their official




                                            3
      Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 4 of 13




capacities, and it granted Plaintiffs’ motion as to those parties.1 In particular, the

Court’s injunction provides that the members of the Board of Governors “must take

no steps to enforce” either the Act or the Board of Governors’ regulation

implementing it, Regulation 10.005, “until otherwise ordered.” Prelim. Inj. at 136.

      Defendants have noticed an interlocutory appeal of the Court’s preliminary

injunction to the Eleventh Circuit and have also requested that the Court of Appeals

stay the operation of the injunction pending the appeal. Both the appeal and stay

request are currently pending before the Eleventh Circuit.

II.   The Governor’s December 28, 2022 Memorandum.

      The Florida Constitution gives the Governor of Florida the express power to

“require information in writing from all executive or administrative state, county or

municipal officers upon any subject relating to the duties of their respective offices.”

FLA. CONST. art. IV, § 1. Florida’s Constitution and statutes also authorize and

require the Executive Office of the Governor (“Office”) to propose an annual

budget—and, as part of that process, to “[m]ake a detailed study, as necessary, of

each of the several state agencies.” FLA. STAT. § 216.151(1); see also FLA. CONST.

art. III, § 19. Pursuant to this authority, on December 28, 2022, the Office issued a

memorandum instructing the Department of Education and State University System


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        In a parallel case, Novoa v. Diaz, No. 22-cv-324, the Court also entered a
preliminary injunction against the members of the University of South Florida Board
of Trustees in their official capacities.
                                          4
        Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 5 of 13




to provide the Office with certain information designed to give the Office “a full

understanding of the operational expenses of state institutions” as it “prepares policy

and budget proposals ahead of the 2023 Legislative Session.” Exhibit 1 to Pls.’ Mot.

to Compel at 5, Doc. 86-1 (Jan. 11, 2023) (“Memorandum”). Additionally, the

memorandum notes that “state law requires dutiful attention to curriculum content

at our higher education systems as specified in sections 1000.05 and 1007.25 of the

Florida Statutes.” Section 1000.05 is the FEEA, which generally forbids

discrimination on the basis of race, color, national origin, sex, disability, religion, or

marital status in the Florida public education system, and was amended to include

the Individual Freedom Act as subsection (4)(a)–(b). Section 1007.25 imposes a

variety of degree requirements and prerequisites on postsecondary educational

institutions, including a variety of curricular requirements such as civics,

mathematics, social sciences, and foreign language. See FLA. STAT. § 1007.25(5)–

(10).

        The December 28 Memorandum instructs the schools at issue “to provide a

comprehensive list of all staff, programs, and campus activities related to diversity,

equity, and inclusion, and critical race theory,” as well as a variety of information

about each activity, including the amount of funding spent to support it. The

Memorandum instructs the institutions to respond by January 13, 2023.




                                            5
     Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 6 of 13




      On January 11, 2023, Plaintiffs filed a motion claiming that the December 28

Memorandum is “in direct violation of the Preliminary Injunction Order” and

requesting the Court to “compel Defendants’ compliance with its Preliminary

Injunction Order, including, to the extent necessary, clarifying that the Order enjoins

actions taken pursuant to the [Memorandum].” Pls.’ Mot. to Compel Compliance

with Prelim. Inj. at 10–11, Doc. 86 (Jan. 11, 2023) (“Motion”). This Court ordered

Defendants to respond to the Motion no later than 5:00 p.m. on January 12.

                                   ARGUMENT

I.    Compliance with the December 28 Memorandum Does Not Conflict with
      the Preliminary Injunction.

      A.     The question before this Court is a narrow one: whether the named

Board of Governors Members, by collecting and sending to the Executive Office of

the Governor the operational information enumerated in the December 28

Memorandum, would be acting in conflict with this Court’s Preliminary Injunction.

That question, in turn, depends entirely on whether the Board’s actions in collecting

and transmitting this information would amount to “tak[ing] . . . steps to enforce”

either the Act or the Board’s implementing regulation. The answer to that question

is clear: gathering and transmitting information is not, in law or in common sense,

the “enforcement” of anything.

      The ordinary meaning of “enforce[ment]” is to “compel obedience to” or “to

obtain (payment, obedience, etc.) by force or compulsion.” “Enforce,”
                                          6
     Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 7 of 13




DICTIONARY.COM, https://bit.ly/3GCoDgs. The meaning given to the term in the

most prominent legal dictionary is to the same effect: “To give force or effect to (a

law, etc.); to compel obedience to.” “Enforce,” BLACK’S LAW DICTIONARY, supra.

Compliance with the December 28 Memorandum’s request for information would

not, by any stretch, constitute “enforcement” of the Act or its implementing

regulation. It would not “give force or effect” to any portion of the Act, nor would

it “compel obedience” to any of its commands. What the Memorandum does—all it

does—is direct state universities to gather and transmit certain information about

their programs—precisely as the Florida Constitution requires of them. See FLA.

CONST. art. IV, § 1.

      The notion that providing this information is a “step[ ]” in the “enforce[ment]”

of the Act, Prelim. Inj. at 136, is completely untenable. Much of the information

enumerated in the December 28 Memorandum is already available, provided by the

universities wholly apart from this request. The Memorandum requests, for example,

a “[b]rief description” of DEI related programs or activities. Many universities, if

not all of them, feature descriptions of these programs on their public-facing

websites. See, e.g., About DEI, UNIV. S. FLA.: DIVERSITY, EQUITY & INCLUSION

https://bit.ly/3GCskCQ. The Memorandum requests information about staff

positions within these programs. Again, many universities list their DEI staff online.

See, e.g., id., Meet the Staff, UNIV. S. FLA.: DIVERSITY, EQUITY & INCLUSION

                                          7
     Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 8 of 13




https://bit.ly/3D42iHZ. The Memorandum requests information about the “funding

spent” on these programs, including “the amount that is state funded.” Florida

regulations require Universities to provide detailed financial information every time

they prepare and submit their Spending Plans to the Board of Governors. See Board

of Governors Regulation 9.007; see also FLA. STAT. § 1011.90; State University

System     of    Florida,    Operating      Budget,     Fiscal      Year   2022-2023,

https://bit.ly/3CFMuL4. The state universities obviously were not taking “steps” in

the “enforcement” of the Individual Freedom Act when they posted this information,

including financial information, related to their DEI activities.

      Plaintiffs cite no case where the mere collection of information was deemed

to constitute a violation of a preliminary injunction restraining enforcement of any

law. Nor are Defendants aware of any such case. And case law from analogous

contexts supports the conclusion that merely requesting information does not amount

to the “enforcement” of any law. For instance, in the context of the Administrative

Procedure Act, courts have repeatedly held that the mere collection or dissemination

of information does not amount to “agency action” because it does not alter anyone’s

legal rights or obligations. See City of New York v. U.S. Dep’t of Def., 913 F.3d 423,

434 (4th Cir. 2019) (Department of Defense’s failure to provide information for

inclusion in the National Instant Criminal Background Check System was not

agency action because “[t]he transfer of information between agencies does not,

                                           8
     Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 9 of 13




without more, alter the rights and obligations of any party”); Portland Cement Ass’n

v. EPA, 665 F.3d 177, 193 (D.C. Cir. 2011) (“EPA’s decision to collect additional

information before proposing greenhouse emissions standards” was not “agency

action”); Hearst Radio v. FCC, 167 F.2d 225, 227 (D.C. Cir. 1948) (publication of

information collected by the FCC does not constitute “agency action”).

      The overreaching nature of Plaintiffs’ motion is revealed in its final sentence.

Whether the motion should be granted, Plaintiffs say, does not “turn on the ultimate

decision to pursue a particular enforcement measure.” Motion at 10. But because the

Court’s Preliminary Injunction only bars Defendants from taking “steps to enforce”

the Act, this sentence means, in Plaintiffs’ view, that whether the Board has taken

“steps to enforce” the Act does not turn on whether it has “pursue[d] a particular

enforcement measure.” That is utterly nonsensical.

      B.     Plaintiffs vaguely argue that compliance with the December 28

Memorandum would violate the injunction because “[t]he purpose behind” it “is

clearly to enforce the unconstitutional provisions of the [Act].” Motion at 6. That is

not clear at all, given that the Memorandum references other provisions of law

wholly unrelated to the Act—including the other, general nondiscrimination

requirements of the FEEA and the curricular requirements of FLA. STAT. § 1007.25.

But even if the Memorandum expressly and exclusively requested information

relating to compliance with the Act, it would not be contrary to this Court’s

                                          9
       Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 10 of 13




Preliminary Injunction. For as explained above, merely gathering and transmitting

information about compliance with the Act does not constitute enforcement of the

Act.

        Finally, Plaintiffs attempt to leverage a variety of First Amendment cases into

an argument that the December 28 Memorandum is contrary to the Preliminary

Injunction. They note that “informal sanctions,” such as “the threat of invoking legal

sanctions,” can “chill speech.” Motion at 8–9 (citing Bantam Books, Inc. v. Sullivan,

372 U.S. 58 (1963); Speech First, Inc. v. Cartwright, 32 F.4th 1110 (11th Cir. 2022);

Okwedy v. Molinari, 333 F.3d 339 (2d Cir. 2003) (per curiam); and White v. Lee,

227 F.3d 1214 (9th Cir. 2000)). And the December 28 Memorandum, according to

Plaintiffs, “further[s] the chill engendered by the [Act]” in this way, since it

“indicates that the information will be used in the budget process,” and “[t]he

potential to withhold institutional funding is a principal mechanism for inducing

compliance with the [Act].” Motion at 7–8.

        But the question at hand is not whether the December 28 Memorandum

independently inflicts some “First Amendment injury,” id. at 8—indeed, as

discussed immediately below, that question is not properly before the Court. Rather,

the question here is whether the Board Members’ compliance with the Memorandum

constitutes a “step” in the “enforce[ment]” of the Act. It does not, and none of the

cases cited by Plaintiffs is even remotely relevant to that question.

                                          10
      Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 11 of 13




II.    Any Independent First Amendment Challenge to the December 28
       Memorandum Is Not Properly Before the Court.

       Plaintiffs’ Motion can be read to allege that the December 28 Memorandum

constitutes a new and independent First Amendment violation. They claim, for

example, that the Memorandum’s request for information “constitutes a First

Amendment injury.” Id. The bulk of the cases they cite pertain to substantive First

Amendment violations, not the enforcement of injunctions. See id. at 9. And they

argue that the Memorandum inflicts a “specter of punishment” and “chill to free

speech.” Id. at 10.

       To the extent these passages allege that the December 28 Memorandum itself

violates the First Amendment, quite apart from the Act, that allegation is not

properly before the Court. Defendants vigorously deny any suggestion that the

December 28 Memorandum’s request for the compilation of information is in any

way contrary to the Free Speech Clause. But to the extent Plaintiffs disagree, they

would at a minimum need to seek leave to amend their Complaint to add that entirely

new claim and the factual allegations supporting it (including allegations giving

them standing to sue any parties that would be necessary to pursue such a claim).

                                 CONCLUSION

       Plaintiffs’ motion should be denied.




                                         11
   Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 12 of 13




Dated: January 12, 2023                Respectfully Submitted,

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                                  12
    Case 4:22-cv-00304-MW-MAF Document 88 Filed 01/12/23 Page 13 of 13




                     CERTIFICATE OF WORD COUNT

      Pursuant to Northern District of Florida Rule 7.1(F), the undersigned counsel

hereby certifies that the foregoing Defendant’s Memorandum of Law in Support of

Motion to Dismiss, including body, headings, quotations, and footnotes, and

excluding those portions exempt by Local Rule 7.1(F), contains 2,410 words as

measured by Microsoft Office for Word 365.

                                                  /s/ Charles J. Cooper
                                                  Charles J. Cooper
